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JS-6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES -- GENERAL

CaseNo. CV 19-9877-JFW(AGRx) Date: September 25, 2020
Title: Allen Alaverdian, et al. -v- Jaguar Land Rover North America, LLC
PRESENT:

HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

Shannon Reilly None Present

Courtroom Deputy Court Reporter
ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:

None None

PROCEEDINGS (IN CHAMBERS): ORDER OF DISMISSAL

In the Notice of Settlement filed on September 17, 2020, Docket No. 20, the parties
represent that they have settled this action. As a result, the Court dismisses this action without
prejudice subject to either party reopening the action on or before October 26, 2020. The Court
will retain jurisdiction for the sole purpose of enforcing the settlement until October 26, 2020.
Thereafter, absent further order of the Court, the dismissal of this action will be with prejudice. All
dates in this action, including the trial date are vacated.

IT IS SO ORDERED.

Initials of Deputy Clerk _sr

(Rev. 1/14/15)
